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March 31, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, CONSENT TO PROCEED BY
VIDEOCONFERENCE

-V- 20 963 , y(_)

Tyrell Beecher ,
Defendant(s).

 

 

Defendant _[yrell Beecher hereby voluntarily consents to

participate in the following proceeding via videoconferencing:

xX

 

Initial Appearance/Appointment of Counsel

Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
Indictment Form)

Preliminary Hearing on Felony Complaint
Bail/Revocation/Detention Hearing
Status and/or Scheduling Conference

Misdemeanor Plea/Trial/Sentence

 

 

Defendant's Signature Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Tyrell Beecher Thomas Ambrosio

Print Defendant’s Name Print Defense Counsel’s Name

 

 

This proceeding was conducted by reliable videoconferencing technology.

11/2/2020 AximAS, Comm

Date U.S. Magistrate Judge

 
